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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                                     )
In re:                                                               )   Chapter 11
                                                                     )
FIELDWOOD ENERGY, LLC, et al., 1                                     )   Case No. 20-33948 (MI)
                                                                     )
                                   Debtors.                          )   (Jointly Administered)
                                                                     )

                    WITNESS AND EXHIBIT LIST FOR CONFIRMATION
                   HEARING SCHEDULED FOR JUNE 18, 2021 AT 9:30 A.M.

    Bankruptcy Case No: 20-33948 (MI)                      Name of Debtor: Fieldwood Energy, LLC
                                                           and its affiliated debtors
    Witnesses:
       1. Edward Viterbo                                   Judge: Honorable Marvin Isgur
       2. Any witness called or designated by              Courtroom Deputy: Tyler Laws
          any other party
       3. Any witness necessary to rebut the               Hearing Date: June 18, 2021
          evidence or testimony of any witness
          offered or designated by any other
          party
                                                           Hearing Time: 9:30 a.m. (CT)
                                                           Party’s Name: Ridgewood Katmai, LLC and
                                                           ILX Prospect Katmai, LLC
                                                           Attorneys’ Names: Duston McFaul, Michael
                                                           Fishel, & Jeri Leigh Miller
                                                           Attorney’s Phone: (713) 495-4500
                                                           Nature of Proceeding: Confirmation Hearing
                                                           (Dkt. No. 1284)




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  The debtors in these chapter 11 cases, along with the last four digits of each debtor’s federal tax identification
number, are: Dynamic Offshore Resources NS, LLC (0158); Fieldwood Energy LLC (6778); Fieldwood Energy Inc.
(4991); Fieldwood Energy Offshore LLC (4494); Fieldwood Onshore LLC (3489); Fieldwood SD Offshore LLC
(8786); Fieldwood Offshore LLC (2930); FW GOM Pipeline, Inc. (8440); GOM Shelf LLC (8107); Bandon Oil and
Gas GP, LLC (9172); Bandon Oil and Gas, LP (9266); Fieldwood Energy SP LLC (1971); Galveston Bay Pipeline
LLC (5703); and Galveston Bay Processing LLC (0422). The Debtors’ primary mailing address is 2000 W. Sam
Houston Parkway S., Suite 1200, Houston, TX 77042.
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                                           EXHIBITS

Ex.                Description                  Offered   Objection   Admitted/   Disposition
 #                                                                      Not
                                                                      Admitted
1     Unit Agreement for Outer Continental
      Shelf Exploration, Development, and
      Production Operations on the Green
      Canyon Block 40 Unit, effective April
      1, 2018, Contract No. 754318002
      [ECF No. 1465-1]
2     GC 40 Unit Operating Agreement by
      and between Ridgewood Katmai, LLC,
      ILX Prospect Katmai, LLC, and
      Fieldwood Energy LLC, effective
      April 1, 2018 [ECF No. 1465-2]
3     Proposal and AFE for completion of
      the Grand Canyon Block 40 No. 1
      wellbore, API well no. 608114062300
      [ECF No. 1465-3]
4     Cash advance invoices issued from
      Fieldwood to Ridgewood Katmai, LLC
      [ECF No. 1465-4]
5     Cash advance invoices issued from
      Fieldwood to ILX Prospect Katmai,
      LLC [ECF No. 1465-5]
6     Payment confirmations for cash
      advance payments made
      [ECF No. 1465-6]
7     JIB invoices issued by Fieldwood to
      Ridgewood Katmai, LLC and ILX
      Prospect Katmai, LLC
      [ECF No. 1465-7]
8     Monthly cash advance reconciliations
      prepared by Ridgewood Katmai, LLC
      and ILX Prospect Katmai, LLC
      [ECF No. 1465-8]
9     Documents reflecting perfection of lien
      by Ridgewood Katmai, LLC and ILX
      Prospect Katmai, LLC
      [ECF No. 1463-2]
10    Statement of Privilege recorded by
      Atlantic on July 16, 2020
      [ECF No. 581-11]
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11   Statement of Privilege recorded by
     Atlantic on July 23, 2020
     [ECF No. 581-15]
12   Fieldwood’s Adversary Complaint
     filed in Adv. Proc. No. 20-03476 at
     ECF No. 1
13   Fieldwood’s Motion for Summary
     Judgment filed in Adv. Proc. 20-03476
     at ECF No. 32
14   Fieldwood’s Response to Atlantic’s
     Motion to Dismiss filed in Adv. Proc.
     No. 20-03476 at ECF No. 36
15   Proof of Claim No. 874 filed by ILX
     Prospect Katmai, LLC
16   Proof of Claim No. 875 filed by
     Ridgewood Katmai, LLC
17   Any exhibit necessary for
     impeachment and/or rebuttal purposes
18   Any exhibit listed by any other party

Dated: June 15, 2021
                                         SIDLEY AUSTIN LLP

                                         By: /s/ Michael Fishel
                                         Duston K. McFaul (TX Bar No. 24003309)
                                         Michael Fishel (TX Bar No. 24082998)
                                         Jeri Leigh Miller (TX Bar No. 24102176)
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                                                   jeri.miller@sidley.com

                                         ATTORNEYS FOR RIDGEWOOD KATMAI,
                                         LLC AND ILX PROSPECT KATMAI, LLC
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on June 15, 2021, a true and correct copy of the foregoing has been

served on all counsel and parties in interest who have consented to service via this Court’s ECF

filing system at the time of filing.



                                                        /s/ Michael Fishel____
                                                        Michael Fishel
